Case 2:04-cv-02445-SHI\/|-dkv Document 15 Filed 08/23/05 Page 1 of 2 Page|D 31

FB.ED BY D.C.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT oF TENNESSEE 05 AU[; 23 AH 5: 52
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U.S.F:!STRSC`FCHBT
MICHELLE SHARLOW, W OF"?M`?-\.:‘.EMP\'§S
Plaintiff,
VS. NO. 04-2445-Ma

CENDANT CAR RENTAL GROUP, INC.,
d/b/a BUDGET RENT A CAR SYSTEM,
INC., ET AL.,

Defendants.

 

ORDER MODIFYING THE COURT'S MAY 19, 2005, ORDER

 

Before the court is plaintiff's June 2, 2005, motion for
modification of the court's previous order. The defendants do
not consent to the motion but have not filed a response in
opposition and the time for filing same has run. For good cause
shown, the court grants the motion.

The court's order of May 19, 2005, is modified for the
limited purpose of allowing discovery to proceed in this case
pending resolution of the criminal proceedings pending in
Virginia. With the exception of the specific modification
contained in this order, all other provisions of the court’s
order of May 19, 2005, remain in full force and effect.

It is so OR_DERED this '\'TAday of August, 2005.

V/"¢'f\

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 15 in
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Stephen R. Lefi]er
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

J ames O. Lockard
LOCKARD LAW FIRM
707 Adams Avenue
l\/lemphis7 TN 38105

Minton Philip Mayer

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

Honorable Samuel Mays
US DISTRICT COURT

